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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                       BIG STONE GAP DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                                                )     Case No. 2:14CR00001-02
                                                )
v.                                              )              OPINION
                                                )
EMMANUEL LEE VESTAL,                            )     By: James P. Jones
                                                )     United States District Judge
                 Defendant.                     )

      Emmanuel Lee Vestal, Pro Se Defendant.

      Emmanuel Lee Vestal had filed a pro se motion titled, “Motion for Plain-

Error Review Pursuant to Supreme Court Case Molina-Martinez vs. United States”

(ECF No. 681). Vestal had disagreed with the dismissal of his prior Motion to

Vacate, Set Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255 as time

barred and also had argued that, inter alia, counsel rendered ineffective assistance.

Consequently, the court instructed Vestal, in accordance with United States v.

McRae, 793 F.3d 392, 400 (4th Cir. 2015), to abandon either claims about the prior

§ 2255 motion’s disposition or claims about the original conviction and sentence.

      In his response, Vestal continues to challenge the imposed sentence and does

not challenge the adjudication of the prior § 2255 motion. Consequently, Vestal’s

requests are treated as a Motion to Vacate, Set Aside, or Correct Sentence. See,
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e.g., United States v. Winestock, 340 F.3d 200, 206-07 (4th Cir. 2003). Vestal

already had a § 2255 motion dismissed with prejudice, and he does not establish

that the United States Court of Appeals for the Fourth Circuit has authorized him

to file a successive § 2255 motion. Accordingly, the construed § 2255 motion

must be dismissed without prejudice as successive pursuant to 28 U.S.C.

§ 2255(h).

                                             DATED: December 14, 2016


                                             /s/ James P. Jones
                                             United States District Judge




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